                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             WESTERN DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR15-4079-MWB
 vs.
                                                                 ORDER
 DARRON FRANCIS MOTHERSHEAD,
               Defendant.
                            ____________________________


       This matter comes before the court on the defendant’s motion for court documents
(Doc. 36). The defendant states that he would like a copy of the docket sheet, the
judgment, the plea agreement, and the sentencing transcript so as to pursue an appeal.
This case is closed. Any appeal in this matter needed to be filed by no later than April 27,
2016. See Fed. R. App. P. 4(b) (providing 14 days to file a notice of appeal; Fed. R.
App. P. 26(a) (computing time). Moreover, the defendant does not request that the time
for filing an appeal be extended. See Fed. R. App. P. 4(b)(4) (“Upon a finding of
excusable neglect or good cause, the district court may—before or after the time has
expired, with or without motion and notice—extend the time to file a notice of appeal for
a period not to exceed 30 days from the expiration of the time otherwise prescribed by this
Rule 4(b).”). Nonetheless, because the defendant’s instant motion is dated May 25, 2016,
the envelope is post-marked June 1, 2016, and the defendant states that he would like to
appeal, the court finds that the defendant should be afforded the opportunity to: (1) make
clear whether he intends to appeal his conviction and (2) provide either excusable neglect
or good cause for why he did not seek and file an appeal within 14 days.
       As for the court documents that the defendant requests, the clerk’s office is directed
to provide the defendant a copy of the docket sheet, the judgment, and the plea agreement
at court expense. Regarding the sentencing transcript, the court does not believe it is


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necessary to transcribe the sentencing hearing at the expense of taxpayers at this time. If
the court finds that the deadline for filing an appeal should be extended and the defendant
is able to pursue an appeal, the defendant may resubmit a request to prepare the sentencing
transcript at court expense. Accordingly, the motion for court documents (Doc. 36) is
granted in part and denied in part.
       By no later than July 1, 2016, the defendant is directed to file a statement that
indicates whether he intends to appeal his conviction and details either excusable neglect
or good cause for why he did not seek an appeal within 14 days. If the defendant does not
comply with the court’s directive to file a statement, the court will take no further action,
that is, it will neither construe the defendant’s motion for court documents as a notice of
appeal nor determine whether the deadline for filing an appeal should be extended.1
       IT IS SO ORDERED this 14th day of June, 2016.



                                              __________________________________
                                              C.J. Williams
                                              United States Magistrate Judge
                                              Northern District of Iowa




       1
           The court notes that the parties’ plea agreement includes a waiver of appeal provision.


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